                     UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF TEXAS
                          SHERMAN DIVISION

UNITED STATES OF AMERICA,                   § CRIMINAL ACTION NO.
         Plaintiff,                         §
                                            § 4:16-CR-176
                                            §
   v.                                       §
                                            §
                                            §
    JAMES MORRIS BALAGIA,                   §
          Defendant.                        §


         BALAGIA’S SECOND MOTION TO COMPEL DISCOVERY
     James Morris Balagia respectfully moves this court pursuant to Federal Rule of

Criminal Procedure 16(a)(1)(E) for the discovery and production of exculpatory and

material evidence.

     On February 15, 2019, Magistrate Judge Christine A. Nowak issued an order

identifying all pending discovery motions [DKts. 200, 243, 246, 252) and ordering that

any other discovery issues that exist be filed on or before Friday, March 8, 2019.

        The following list of discovery disputes supplements the previous filed motions.


  1. With regard OFAC documents designating the underlying drug traffickers
     under the kingpin act- all documents showing or listing all accounts seized
     from the persons listed in the indictment pursuant to 21 U.S.C. 1904. Any pre-
     seizure or post-seizure notice that the government provided to these persons
     reflecting that they had been designated. The original executive orders affecting
     the designation together with the factual basis upon which the decision to
     designate was based.
2. All OFAC licenses obtained by any lawyers in order to represent any of the
    drug traffickers in the underlying drug case that has resulted in this prosecution.
    The underlying drug case is U.S. v. Fernain Rodriguez-Vasquez, Case No. 4:1cr-38.
3. Any documents that reflect the request for and approval for authorization for
    Columbian attorney Nury Lopez or any other person to record the attorney
    client interview in La Picota prison in Columbia that has been provided to the
    defense through discovery. This dispute includes documents of approval from
    the Columbian authorities, documents of approval from the United States
    Department of Justice (USDOJ), and documents of approval from any United
    States court.
4. Any documents that reflect the request for and approval for authorization for
    the Collin County Sheriff or any other person to record the attorney client
    interview between an underlying drug trafficking defendant and James Balagia
    in Collin County jail. This dispute includes documents of approval from the
    United States Department of Justice (USDOJ) and documents of approval
    from any United States court or state court within the United States.
5. All oral or written communication of any sort including but not limited to
    notes of in person meetings, notes of phone calls, recordings of phone calls,
    emails, texts and/or letters between Rafael De La Garza and any employee of
    the DOJ regarding any defendant in this cause, Norman Silverman, Daphne
    Silverman, James Balagia, and/or any other person associated with this case.
6. With regards to JMM and her daughter, all documents in their files with the
    state court of prosecution including all correspondence between the
    prosecutors and the law office of James Balagia, all correspondence among
    prosecutors in the office prosecuting the cases, and all discovery in their cases.
    Balagia’s defense is that he effectively represented these ladies in Court. As a
    result, the prosecution file is substantive evidence in the defense case in Chief.
7. With regards to any bar complaints or bar matters involving James Balagia, any
    oral or written communication of any sort including but not limited to notes of
    phone calls, recordings of phone calls, emails, texts between any member of the
    State Bar of Texas and any employee of the DOJ or any employee of the FBI.
8. Any photographs in the government’s possession of any of the defendants in
    this cause that have not previously been provided.
9. Any devices or downloads of any devices involving or in regards to any co-
    defendant in this cause including but not limited to the Ipad belonging to one
    of the co-defendants that has been previously discussed with the government
    that has on it pictures of high ranking government officials and drug traffickers
    in Columbia.
10. All files of the USDOJ on the underlying drug trafficking defendants – Hermes
    Cassanova Ordonez, Segundo Segura, and Aldemar Segura- including but not
    limited to the file in the Sherman office of the UDDOJ that is prosecuting the
       underlying drug trafficking defendants. We have not requested these
       documents previously because AUSA Rattan advised that she was walled off
       from the Sherman file in order to avoid a conflict. As noted in our Motion to
       Disqualify the prosecutors in this case, the wall has interfered with the
       discovery of relevant documents. The defense has moved to disqualify the
       prosecutors in the case, and now seeks the production of these files. The files
       should include the discovery in their cases, all correspondence with defense
       counsel, all correspondence with any law enforcement officer, and all
       correspondence between employees of the USDOJ.
   11. All recordings of phone calls from any jail for all persons associated with this
       case who have been incarcerated at any time regardless of who was called.
       Those related to the case who have been incarcerated at some time include but
       are not limited to: JMM and her daughter, all defendants in this cause as well as
       Aldemar Segura, Segundo Segura, and Hermes Casanova Ordenez.
   12. All reports or other documentation of any investigation of the people who may
       have at any time been law enforcement connections or handlers or any other
       relationship by whatever name its known for a co-defendant in this matter
       including the people referenced in Washington DC who originally worked in
       San Antonio, the Professor in Ohio who also has a condo in Florida, the
       officers identified to the Court previously through a codefendant’s lawyer and
       any other people developed in this investigation by law enforcement or the
       prosecution.
   13. A.F. - all documents in his file with the state court of prosecution including all
       correspondence between the prosecutors and the law office of Jamie Balagia,
       all correspondence between prosecutors in the office prosecuting the case, and
       all discovery in his case. As with the allegations by the ladies, Balagia's defense
       is that he effectively represented A.F. in Court. As a result, the prosecution file
       is substantive evidence in the defense case in Chief.

      The defense incorporates all previously made arguments in its Motion to Compel

and amended motions to compel presently pending before the Court. This list

supplements the existing motion with additional disputed issues. The Court had asked

that all discovery disputes be briefed by March 8. With this motion, counsel is

identifying all remaining discovery disputes about which she is presently aware.

However, the government has not met its January 18 deadline for production of
subpoenaed material. There may be additional disputes after counsel reviews the

documents yet to be produced.


                                        Respectfully submitted,

                                        /S/DAPHNE PATTISON SILVERMAN
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                CERTIFICATION BY DAPHNE SILVERMAN

      I am an attorney licensed to practice in the State of Texas. I have been retained

by Defendant James Balagia to represent him in this matter, and have been personally

involved in the defense investigation. I have personal knowledge of the facts set forth

above regarding the defense investigation. I hereby certify that those facts set forth

herein are accurate and complete to the best of my knowledge.

                                              /s/ Daphne Pattison Silverman
                                              Daphne Pattison Silverman


                          CERTIFICATE OF SERVICE
        I certify that on March 8, 2019, this document was filed with the Clerk of the

  Court using the electronic case filing system that automatically sends notice of
  electronic filing to the attorneys of record who have consented to accept such

  service.

                                         /S/DAPHNE PATTISON SILVERMAN
                                         Daphne Pattison Silverman


                       CERTIFICATE OF CONFERENCE

       Counsel forwarded a copy of this motion to opposing counsel prior to filing as

requested by opposing counsel previously with regards to discovery disputes. With all

prior discovery disputes, opposing counsel has asked to be listed as opposed. Counsel

received no response from opposing counsel.


                                         /S/DAPHNE PATTISON SILVERMAN
                                             Daphne Pattison Silverman


CERTIFICATE OF COMPLIANCE WITH FED R. CRIM PROC. 49.1 AND
                WITH EDTX LOCAL RULE 49.1

       Counsel certifies that all personal identifiers have been removed from this

document in accordance with Fed. R. Crim. Proc 49.1 and in an abundance of caution

the name of the relevant co-defendant has been redacted in accordance with EDTX

Local Rule 49.1. By removing this name, counsel is not affirming that the rules require

removal nor waiving any right to identify the person by name in future pleadings or in

Court. Counsel has previously filed pleadings sealed as a courtesy to the co-defendants.

Review of EDTX Local Rule 49 reveals that sealing as a courtesy violates the local rules.
In order to serve the presumption of openness in criminal pleadings called for by Rule

49, this pleading is being filed unsealed.

                                             /S/DAPHNE PATTISON SILVERMAN
                                                 Daphne Pattison Silverman
